                   Case 01-01139-AMC         Doc 30517-1         Filed 04/15/13        Page 1 of 4



                         IN THE UNITED STATES BANKRUPTCY COURT


In re:                                                      ) Chapter 11
                                                            )


W. R. GRACE & CO., et al.’                                  ) Case No. 01-01139 (JKF)
                                                            ) (Jointly Administered)
                           Debtors.                         )
                                                            ) Hearing Date: May 20, 2013, at 9:00 a.m.
                                                               Objection Deadline: May 3, 2013, at 4:00 p.m.


 NOTICE OF MOTION FOR ORDER AUTHORIZING THE PRIVATE SALE OF REAL
    PROPERTY AND APPROVING THE PURCHASE AND SALE AGREEMENT


TO: Parties required to receive notice pursuant to Del. Bankr. LR 2001 - 1.

                     On April 15, 2013, the above-captioned debtors and debtors-in-possession

(collectively, the "Debtors") filed the attached Motion for an Order Authorizing the Private Sale

of Real Property and Approving the Purchase and Sale Agreement                         (the "Motion") with the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington,


     The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/kia Grace Specialty Chemicals, Inc.), W.
     R. Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
     Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
     Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
     (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
     Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC
     Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
     Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
     Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
     Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
     (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
     Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
     R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
     Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
     Development Company, L B Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH,
     Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
     Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
     Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
     Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
     Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country
     Staffing), Hayden-Gulch West Coal Company, and H-G Coal Company.




DOCS_DE:186948.1
                   Case 01-01139-AMC       Doc 30517-1      Filed 04/15/13     Page 2 of 4



Delaware 19801 (the "Bankruptcy Court"). A true and correct copy of the Motion is attached

hereto.

                     Responses to the relief requested in the Motion, if any, must be in writing and be

filed with the Bankruptcy Court no later than 4:00 p.m. (prevailing Eastern time) on May 3,

2013. At the same time, you must also serve a copy of the objections or responses, if any, upon

the following: (i) co-counsel for the Debtors, Adam Paul, Kirkland & Ellis LLP, 300 N. LaSalle,

Chicago, IL 60654 (fax 312-862-2200), Roger J. Higgins, The Law Offices of Roger Higgins,

LLC, ill East Wacker Drive, Suite 2800, Chicago, IL 60601 (fax            312-577-0737), and James E.

O’Neill, Pachuiski Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, P.O. Box

8705, Wilmington, DE 19899-8705 (Courier 19801) (fax 302-652-4400); (ii) counsel to the

Official Committee of Unsecured Creditors, Lewis Kruger, Stroock & Stroock & Lavan, 180

Maiden Lane, New York, NY 10038-4982 (fax 212-806-6006), and Michael R. Lastowski,

Duane, Morris & Heckscher, LLP, 1100 N. Market Street, Suite 1200, Wilmington, DE 19801 -

1246 (fax 302-657-4901); (iii) counsel to the Official Committee of Asbestos Property Damage

Claimants, Scott L. Baena, Bilzin, Sumberg, Baena, Price & Axelrod, 1450 Brickell Avenue,

Suite 2300, Miami, FL 33131 (fax 305-374-7593), and Michael B. Joseph, Ferry & Joseph,

P.A., 824 Market Street, Suite 904, P.O. Box 1351, Wilmington, DE 19899 (fax 302-575-1714);

(iv) counsel to the Official Committee of Asbestos Personal Injury Claimants, Elihu Inselbuch,

Caplin & Drysdale, Chartered, 375 Park Avenue, 35th Floor, New York, NY 10152-3500 (fax

212-644-6755), and Marla Eskin, Campbell & Levine, LLC, 222 Delaware Avenue, Suite 1620,

Wilmington, DE 19801 (fax 302-426-9947); (v) counsel to the Official Committee of Equity

Holders, Thomas M. Mayer, Kramer Levin Naftalis & Frankel LLP, 919 Third Avenue, New

York, NY 10022 (fax 212-715-8000), and Teresa K.D. Currier, Saul Ewing LLP, 222 Delaware




DOCS_DE:186948.1
                    Case 01-01139-AMC   Doc 30517-1      Filed 04/15/13      Page 3 of 4



Avenue P.O. Box 1266, Wilmington, DE 19899-1397 (fax 302-421-6813); (vi) counsel to the

Asbestos PT Future Claimants’ Representative, Richard H. Wyron, Orrick, Herrington &

Sutcliffe LLP, 1152 15th Street, NW, Washington, DC 20005 (fax 202-339-8500), and John C.

Phillips, Jr., Phillips, Goldman & Spence, P.A., 1200 North Broom Street, Wilmington, DE

19806 (fax 302-655-4210); (vii) the Office of the United States Trustee, Attn: David Klauder,

844 N. King Street, Wilmington, DE 19801 (fax 302-573-6497); and (viii) counsel to the

Asbestos PD Future Claimants’ Representative, Karl Hill, Seitz, Van Ogtrop & Green, P.A., 222

Delaware Avenue, Suite 1500, P.O. Box 68, Wilmington, DE 19899 (fax 302-888-0606), and

Alan B. Rich, Law Office of Alan B. Rich, Esq., 1201 Elm Street, Suite 4244, Dallas, TX 75270

(fax 214-749-0325).

                      IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN

ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY GRANT THE

RELIEF REQUESTED BY THE MOTION WITHOUT FURTHER NOTICE OR HEARING.




                              [Remainder of Page Intentionally Left Blank]




                                                   3
DOCS_DE: 186948.1
                     Case 01-01139-AMC   Doc 30517-1    Filed 04/15/13   Page 4 of 4



                        IN THE EVENT THAT ANY OBJECTION OR RESPONSE IS FILED AND

SERVED IN ACCORDANCE WITH THIS NOTICE, A HEARING ON THE MOTION WILL

BE HELD BEFORE THE HONORABLE JUDITH K. FITZGERALD AT THE UNITED

STATES BANKRUPTCY COURT, 824 MARKET STREET, WILMINGTON, DELAWARE

19801, ON MAY 20, 2013, AT 9:00 A.M. PREVAILING EASTERN TIME.



Dated: April J, 2013                              KIRKLAND & ELLIS LLP
                                                  Adam Paul
                                                  John Donley
                                                  300 North LaSalle Street
                                                  Chicago, IL 60654
                                                  Telephone: (312) 862-2000
                                                  Facsimile: (312) 862-2200

                                                  and

                                                  THE LAW OFFICES OF ROGER HIGGiNS, LLC
                                                  Roger J. Higgins
                                                  111 East Wacker Drive
                                                  Suite 2800
                                                  Chicago, IL 60601
                                                  Telephone: (312) 836-4047

                                                  and

                                                  PACUJJLSK1STANGZIEHL & JONES LLP


                                                  Laravis Joæ (Bar No. 2436
                                                  James IE. O’Neill N3ar N
                                                  Kathleen P. Makowskir. 48)
                                                  Timothy P. Cairns (Bar        28)
                                                  919 North Market Street,No(
                                                                            1thFloor
                                                  P.O. Box 8705
                                                  Wilmington, DE 19899-8705
                                                  Telephone: (302) 652-4100
                                                  Facsimile: (302) 652-4400

                                                  Co-Counsel for the Debtors and Debtors-in- Possession




DOCS_DE: I 86948.1
